255 F.2d 928
    SOUTHWESTERN BELL TELEPHONE COMPANY, Appellant,v.J. M. McGUIRE.
    No. 15982.
    United States Court of Appeals Eighth Circuit.
    May 9, 1958.
    
      Appeal from the United States District Court for the Eastern District of Missouri.
      Thomas L. Croft, St. Louis, Mo., for appellant.
      William Howard Bloodworth, Poplar Bluff, Mo., and Jo B. Gardner, Monett, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed at costs of appellant, on stipulation of parties.
    
    